
700 S.E.2d 926 (2010)
STATE of North Carolina
v.
Carlton Wendell BRADDY.
No. 70P10.
Supreme Court of North Carolina.
August 26, 2010.
Tina A. Krasner, Assistant Attorney General, for State.
Carlton W. Braddy, pro se.


*927 ORDER

Upon consideration of the petition filed on the 23rd of February 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
